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               IN THE UNITBD STATES DISTRICT COURT
                  NORTHBRN DISTRICT OF GEORGIA

DONNA CURLING, et al                  )
                                      )
            Plaintiffs                )       Civil Action No.
                                      )        1   :17-cv-02989-AT
                                      )
BRIAN P. KEMP, et        a1.,         )
                                      )
            Defendants                )

   COFFEE COUNTY BOARD OF ELECTIONS & REGISTRATIONS'
  MOTION TO QUASH AND/OR MOTION FOR PROTECTIVE ORDER

      COMES NOW, the Movant, Coffee County Board                     of   Elections &

Registrationl ("Coffee County") and respectfully moves this Court to quash or

modi$z the subpoenas attached as Exhibits A and B (collectively, the "Subpoenas,"

and individually the "Subpoena to Testify" and "Subpoena to Produce") pursuant to

Fed. R. Civ. P. 45(dX3) and Fed. R. Civ. P.   26(c)(l). Alternatively, Coffee County

BOE moves that the court enter a protective order pursuant to Fed. R. Civ.         P.


26(c)(t).

                                          I

      Respondents attempted to serve the Subpoena to Testi$z upon Coffee County

commanding Coffee County to appear on July 14, 2022 at the Office of Kathryn




   I The movant is incorrectly named in the subject subpoenas as Coffee County
Board of Elections.
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Grant, located at202 W. Gordon St., Unit E, Valdosta, Georgia 31602. See Exhibit

A

                                          2

       Respondents attempted to serve the Subpoena to Produce upon Coffee County

commanding Coffee County to produce documents at the Office of Kathryn Grant,

located at202 W. Gordon St., Unit E, Valdosta, Georgia 31602. See Exhibit B.

                                          J


       The Subpoenas are issued from a lawsuit styled as Curling, et al. v. Kemp et

al.,pending in the United States District Court for the Northern District of Georgia,

Civil Action No. 1:ll-cv-02989-AT

                                          4

       Pursuant to Fed R. Civ. P. 45(d)(3XB), this Motion is contemporaneously

being filed in the United States District Court in the Middle District of Georgia. Fed

R. Civ. P. 45(dX3)(B) gives the "court for the district where compliance is required"

the authority to quash or modifli a subpoena. Out of an abundance of caution, it is

being filed in this action as well.

                                          5


      The Subpoena to Testify is unduly burdensome to Coffee County BOE. Fed

R. Civ. P. 4s(d)(1) and (3).




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                                          6

       The Subpoena to Testify seeks information that is not relevant to the issues   of

the litigation and not proporlional to the needs of the case. Fed. R. Civ. P. 26(bX1)

                                          1

       The burden and expense to Coffee County BOE created by the Subpoena to

Testiflz far outweighs any benefit the deposition testimony may provide

                                          8


       Coffee County BOE does not have the requisite or relevant knowledge to

testify about the topics outlined in the Subpoena to Testify.

                                          9


       The Subpoena to Produce is unduly burdensome to Coffee County BOE,. Fed.

R. Civ. P. 4s(d)(1) and (3).

                                         10.

       The Subpoena to Produce seeks information that is not relevant to the issues

of the litigation and not proportional to the needs of the case. Fed. R. Civ. P.

26(b)( 1).

                                         11.


       The burden and expense to Coffee County BOE created by the Subpoena to

Produce far outweighs any benefit the deposition testimony may provide




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                                              12.

          Coffee County BOE, was not properly served with the Subpoenas. The Proof

of   Service certifications    of the Subpoenas are incorrect. (See Affidavit of      R.

Roberts). Service of subpoenas on the Elections Supervisor on behalf of a Board of

Elections and Registration is improper.

                                              13.


          Pursuant to Fed. R. Civ. P. 26(c)(1), Coffee County BOE certifies that   it has

in good faith conferred with the other affected parties in an effort to resolve      the

dispute without court action.

                                              14.

          In support of this Motion, Coffee County BOE relies on the following:

     a    Memorandum of Law        in Support of Motion to Quash and/or Motion for
          Protective Order filed contemporaneously with this Motion;

     b.   The Subpoenas attached as Exhibits A and B;

     c. Affidavit    of Rachel Roberts.

          WHEREFORE, Coffee County respectfully moves that the Court:

             1.   Quash the Subpoenas, or, in the alternative;

             2. Issue a protective order sufficient to protect Coffee County BOE's

                  interests;




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         3. Award Coffee County its reasonable     and necessary attorney's fees and

             litigation costs for having to bring this motion; and

         4. Grant such other and further relief as the Court deems just           and

             appropnate.

         Respectfully submitted this 29th day of June, 2022.

                                              HALL BOOTH SMITH, P.C.

                                              /s/ Anthony A. Rowell
                                              ANTHONY A. ROWELL
                                              Georgia Bar No.: 616930
                                              JENNIFER D. HERZOG
                                              Georgia Bar No.109606
                                              NICHOLAS A. KINSLEY
                                              Georgia Bar No.: 273862

                                              Couns el for Coffee County
                                              Board of Elections & Registration
1564 King Road
Tifton Georgia 31193
(229) 382-0515 - Telephone
(229) 382-1616 - Facsimile
Email : arow ell@hallboothsmith. com
Emai I : jherzo g@hallb oothsmith. com
Email: nkinsley@hallboothsmith.com




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                IN THB UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

DONNA CURLING, et al.                   )
                                        )
             Plaintiffs                 )
                                        )
V                                       )     Civil Action No. I :17-cv-02989
                                        )
BRIAN P. KEMP, et     al.,              )
                                        )
             Defendants                 )

                             CERTIF'ICA      OF SERVICE

      I HEREBY CERTIFY that I have this 29th day of June, 2022,       served a copy

of the within and foregoing COFFEE COUNTY BOARD OF ELECTIONS &

REGISTRATIONS' MOTION                 TO QUASH AND/OR MOTION                    FOR

PROTECTIVE ORDER upon all Counsel of Record via CM/ECF               and by placing

a copy of same in the United States Mail, in an envelope with adequate postage

affixed thereon to ensure delivery, as follows:

Halsey G. Knapp, Jr.
Krevolin & Horst, LLC
One Atlantic Center
l20l West Peachtree Street, NW
Suite 3250
Atlanta, GA 30309
            lawfirm.com


                                       HALL BOOTH SMITH, P.C.

                                            ennifer D. H
                                       ANTHONY A. ROWELL
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                                         Georgia Bar No.: 616930
                                         JENNIF'ER D. HERZOG
                                         Georgia Bar No. 109696
                                         NICHOLAS A. KINSLEY
                                         Georgia Bar No.: 273862

                                         Counsel   for   Coffee County
                                         Board of Elections & Registration
1564  King Road
Tifton Georgia 31793
(229) 382-0515   - Telephone
(229) 382-1676   - Facsimile
Email : ar ow ell@hal lboothsmith. com
Email : iherzo e@,hallboothsmith. com
Email : nkinslelz@hallboothsmith. com




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